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November 30, 1995 At Albuquerque Niq

DEC 1 1995

HON. JOHN £
VIA FEDERAL EXPRESS U.S. DISTRICT TUNWA

The Honorable John E. Conway
Chief United States District Judge
United States District Court

for the District of New Mexico
P. O. Box 1160
Federal Building & U.S. Courthouse
500 Gold Avenue S.W.
Albuquerque, New Mexico 87103

Re: Carl Wilson, et al. v. HarperCollins Publishers, Inc.,
etc., United States District Court Case No. CIV 94-892

JC/LFG

Dear Judge Conway:

The purpose of this letter is to request the Court to ignore
the reference to a Libel Defense Resource Center survey
referenced on Page 8 (footnote 2) of the Reply Memorandum of Law
in Support of Defendant’s Motion for Summary Judgment. This
reference is improper, and so inflammatory and misleading that it
needs to be brought to the Court’s attention.

The survey by the Libel Defense Resource Center, as
referenced in the brief, is completely inadmissible. The
reference is also misleading. Apparently, Defendant has included
the reference in an effort to persuade the Court that it should
follow some purported "trend" and grant summary judgment in this
matter. In doing so, Defendant states that the study indicates
that "courts entered summary judgment in favor of the defendant
in 86.7 percent of all public figure cases .. ." (Emphasis
added.) Assuming that this survey was conducted in the same
manner as past similar surveys of the Libel Defense Resource
Center, it is limited to reported cases. Of course, many courts,
especially state courts, do not issue written opinions on the
denial of summary judgment motions, and thus the survey does not
include these trial court denials.

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The Honorable John E. Conway
November 30, 1995
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In any event, Plaintiffs request that the Court disregard
the reference to the Libel Defense Resource Center survey.

Yours very truly,

BARRY B. OD A ~~

BBL: bnec

cc: William S. Dixon, Esq.
(via Federal Express)

R. Bruce Rich, Esq.
(via Federal Express)

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